
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a0347-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a0374-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a3047-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a0347-16.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0349-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0346-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0340-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0387-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4347-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0447-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0547-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0847-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0347-10.pdf (mistyped character)


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